      Case:18-05288-EAG11 Doc#:170 Filed:04/09/19 Entered:04/09/19 09:33:00                              Desc:
                             Grntg Ext of Time Page 1 of 1
                               IN THE UNITED STATES BANKRUPTCY COURT
                                           District of Puerto Rico



IN RE:                                                       Case No. 18−05288 EAG

SKYTEC INC
                                                             Chapter 11

66−0564236

                                                             FILED & ENTERED ON 4/9/19
                         Debtor(s)



                                                          ORDER

The motion filed by Debtor requesting extension of time of 21 days to file opposition to motion to request
appointment of Chapter 11 Trustee (docket #169) is hereby granted. Order due by April 29, 2019.

IT SO ORDERED.

In San Juan, Puerto Rico, this Tuesday, April 9, 2019 .
